                   Case 1:18-cr-00083 Document 11 Filed 02/22/18 Page 1 of 2 PageID# 113
Criminal Case Cover Sheet                                                                                                                U.S. District Court
                                                          FILED:    REDACTED



Place of Offense;                       •       Under Seal                                                   Judge Assigned:          T.S. Ellis


City:                                   Superseding Indictment:              Yes                             Criminal No.             l:18-cr-83



County: Fairfax                         Same Defendant:                      Yes                             New Defendant:           No


                                        Magistrate Judge Case No.                                            Arraignment Date;

                                        Search Warrant Case No.                                              R. 20/R.40From:

Defendant Information;


Defendant Name; Paul J. Manafortjr.                                 Alias(es):                               •   Juvenile FBI No.

Address:                                            [Alexandria, VA|

Employment:

Birth Date:            1949      SSN:              1725         Sex;         Male             Race: White/Caucasian     Nationality:       American


Place of Birth;                       Height:             Weight:                   Hair:           Eyes:               Scars/Tattoos:


•     interpreter Language/Dialect: English                                                 Auto Description:

Location/Status;


Arrest Date: Oct 30,2017                    •     Already in FederalCustodyas of:                                           in:




•     Alreadyin State Custody               ^ On Pretrial Release                     ^ NotinCustody

•     ArrestWarrant Requested               • Fugitive                                • Summons Requested

•     ArrestWarrant Pending                 •     Detention Sought                          Bond

Defense Counsel Information:


Name:         Kevin M. Downing                                           •     Court Appointed        Counsel Conflicts:

Address:      601 NewJersey AveNW, Suite 620,Wash,D.C 20001              ^ Retained

Phone:        202-754-1992                                               •     Public Defender                              •     FederalPublicConflicted Out

U.S. Attorney Information;

AUSA(s): Greg D.Andres                                                                Phone: 202-616-0800                   Bar No.

Complainant Aaencv - Address &Phone No.or Person &Title;

    Federal Bureau of Investigation
U.S.C. Citations;        Code/Section                        Offense Charged                                Count(s)              Capital/Felonv/Misd./Pettv


     Set 1:         26U.S.C.§ 7206(1); iy Subscribing to False United States jgj                   1-5                             Felony


     Set 2:         31 U.S.C§§5314ancy Failure To File Reports OfForeign Ejgj                      11-14                           Felony


     Date:                                         AUSA Signature;                                                                  may be continued on reverse
                    Case 1:18-cr-00083 Document 11 Filed 02/22/18 Page 2 of 2 PageID# 114
Criminal Case Cover Sheet                                                                                                               U.S, District Court
                                                           FILED: |REDACTED

Place of Offense:                      •       Under Seal                                                   Judge Assigned:          T.S. Ellis


City:                                  Superseding Indictment:             Yes                                Criminal No.           l:18-cr-83


County: Fairfax                        Same Defendant:                     No                                 New Defendant:         Yes


                                       Magistrate Judge Case No.                                              Arraignment Date:

                                       Search Warrant Case No.                                                R. 20/R. 40 From:

Defendant Information;


Defendant Name: Richard W. Gates                                   Alias{es): Rick Gates                    •     Juvenile FBI No.

Address:                                         Richmond, Virginial

Employment:

Birth Date:           1972      SSN:              6598         Sex:        Male             Race; White/Caucasian        Nationality: American

Place of Birth:                    Height:               Weight:                  Hair:           Eyes:                  Scars/Tattoos:


• Interpreter Language/Dialect: English                                                   Auto Description:

Location/Status:


Arrest Date: 0ct30,2017                    •    Already in Federal Custody as of:                                          in:



•    Already in State Custody              ^ On Pretrial Release                    ^ Notin Custody

•    ArrestWarrant Requested               •    Fugitive                            •     Summons Requested

•    ArrestWarrant Pending                 •    Detention Sought                          Bond

Defense Counsel Information:


Name:                                                                  •    Court Appointed         Counsel Conflicts:

Address:                                                               •    Retained

Phone:                                                                 •    PublicDefender                                •      FederalPublicConflicted Out
U.S. Attorney Information:


AUSA(s): Greg D. Andres                                                             Phone: 202-616-0800                    Bar No.

Complainant Agency - Address & Phone No. or Person & Title:


 Federal Bureau of Investigation
U.S.C. Citations:      Code/Section                        Offense Charged                                Countfsl               Capital/Felonv/Misd./Petty


    Setl:         26 U.S.C. § 7206(2);           Assisting in the Preparation ofFals^jj          6-10                             Felony

    Set 2:        26U.S.C.§ 7206(1); ly Subscribing to False United States ^                     15-19                            Felony

    Date:                                        AUSA Signature:                                                                   may be continued on reverse
                                                                                                              T
